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                    UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION

LANDSCAPE CONSULTANTS OF                      Civil Action No. 4:23-cv-03516
TEXAS, INC., and METROPOLITAN
LANDSCAPE MANAGEMENT,
INC.,

                 Plaintiffs,                PLAINTIFFS’ OBJECTIONS TO
v.                                            MAGISTRATE’S ORDER

CITY OF HOUSTON, TEXAS, and
MIDTOWN MANAGEMENT
DISTRICT,

                 Defendants.

      Pursuant to 28 U.S.C. §636(b)(1)(A) and Fed. R. Civ. P. 72(a), Plaintiffs

Landscape Consultants of Texas, Inc., and Metropolitan Landscape Management,

Inc., (Plaintiffs) submit their Objections to the Magistrate Judge’s Order granting

Defendant City of Houston’s Motion for Protective Order and Motion to Quash,

Dkt. 64.

                               INTRODUCTION

      Houston filed a Motion for Protective Order and Motion to Quash (MPO/MQ)

Plaintiffs’ 30(b)(6) deposition notice seeking discovery into the decisionmaking

surrounding a study into the existence of racial disparities in Houston’s public

contracting program. In its MPO/MQ, Houston claimed that the 30(b)(6) topics were

not relevant, and that city officials and city council members were protected by


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various privileges. Dkt. 58. Plaintiffs refuted these claims, arguing that no privilege

attaches, and that because the study itself has already been adjudged to be relevant,

discovery into the decisionmaking surrounding the study is also relevant. Dkt. 62.

      In his Order, Magistrate Judge Bray addressed neither Houston’s arguments

nor Plaintiffs’ defenses. Dkt. 64. Instead, the Court found that because Plaintiffs had

not explained why the contents of the disparity study were relevant to its equal

protection claims—despite having previously held that the study itself is relevant

and discoverable—Houston was entitled to a protective order and quashed the

30(b)(6) deposition. Id. The Order should be set aside, and Houston’s MPO/MQ

should be denied.

                                  BACKGROUND

      Plaintiffs contend that because Houston’s race-conscious public contracting

program “uses racial classifications to award public contracts, furthers no

compelling interest, and is not narrowly tailored, it violates the Equal Protection

Clause.” Dkt. 1 at ¶ 53. Houston’s only defense to this claim is that it “has the

authority to eradicate the effects of its historic discrimination and private

discrimination within its own legislative jurisdiction.” Dkt. 35 at 14. Therefore,

whether and to what degree the effects of Houston’s “historic discrimination and

private discrimination” currently exist are key to both Plaintiffs’ claims and

Houston’s defense in this case.



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      Houston contends that “[e]vidence demonstrates discriminatory barriers to

fair competition between minority and non-minority contractors.” Ex. 1, City Resp.

to Pltfs.’ Interrog. No. 4. Despite this contention, Houston also admits that it has not

debarred a public contractor for discrimination against minority subcontractors in

the past five years, nor has it investigated or sanctioned Houston employees or

officials for racial discrimination in procurement or the award of public contracts

during that same period. Id. at Nos. 5–6; Ex. 2, City Resp. to Req. for Admissions

Nos. 2, 4–5. And although city ordinance requires Houston to “make its best efforts”

to review the race-conscious public contracting program to determine whether there

is “strong statistical and anecdotal evidence of discrimination” to warrant continued

use of racial classifications, Houston Code §15-81(b), Houston’s only evidence of

“discriminatory barriers to fair competition” comes from a study dated December

31, 2006. 1

      In 2016, Houston commissioned a disparity study from Colette Holt &

Associates (CHA Study), which was delivered in 2020 and cost taxpayers almost $1

million. 2 For unknown reasons, Houston never published the CHA Study, the City

Council never publicly voted on the CHA Study, and—despite being fourteen years



1
  The City of Houston Disparity Study, Mason Tillman Associates, December 2006,
https://www.houstontx.gov/obo/docsandforms/2006-COH-Disparity-Study.pdf.
2
  Houston City Council, Meeting Minutes, Ordinance 2016-0636, at 24 (Aug. 23,
2016), https://www.houstontx.gov/citysec/agenda/2016/20160823.pdf.

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newer than the last study—Houston never adopted the CHA Study as the basis for

its race-conscious public contracting program.

      The CHA Study was commissioned, in part, to determine if any disparities

existed in awarding public contracts to minority business enterprises and whether

active racial discrimination exists in the Houston market area. 3 Given Plaintiffs’

contention that Houston has no compelling interest in operating a race-conscious

public contracting program, they understandably question whether the CHA Study

found that statistically significant racial disparities existed in Houston during the

study period. After all, if the CHA Study did not find that racial disparities existed,

it would support Plaintiffs’ claim that Houston is operating a race-conscious public

contracting program without any compelling interest for doing so.

      On March 6, 2024, Plaintiffs first requested “[a]ll documents relating to any

draft, incomplete, or complete disparity study undertaken by Colette Holt &

Associates for the City between January 1, 2016, to January 1, 2021, including

monthly progress reports.” Ex. 3, Pltfs’ First Req. for Production to Def. City No. 10.

Two months later, Houston refused to produce any documents responsive to

Plaintiffs’ request, citing relevance and proportionality, but “[s]pecifically, a draft or

incomplete disparity study never adopted or relied upon by the City of Houston is


3
   City of Houston, Agreement for Disparity Study Consultant Services,
https://houston.novusagenda.com/Agendaintranet/AttachmentViewer.ashx?Attach
mentID=32164&ItemID=8362.

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not relevant and not important to resolving any disputed issue.” Ex. 4, Houston’s

Resp. to Pltfs.’ Req. for Prod. No. 10. After another two months of Houston’s delay,

Plaintiffs filed a motion to compel the production of documents in response to

Plaintiffs’ Request for Production No. 10. Dkt. 48. Notably, Plaintiffs’ motion was

not limited to the CHA Study only; Plaintiffs sought to compel all documents

responsive to Request No. 10. Id. at 1 (“Plaintiffs … move to compel Defendant City

of Houston to produce documents in response to Plaintiffs’ Request for Production

No. 10, and for an award of reasonable attorney’s fees and costs. See Fed. R. Civ. P.

37(a)(1), (a)(5)(A).”).

      Plaintiffs’ motion was referred to Magistrate Judge Bray, Dkt. 50, and a Zoom

hearing took place on August 16, 2024. No transcript or recording of this hearing

was made available to the parties. At the hearing, Magistrate Bray expressed his

preference to compel production of the CHA Study under a protective order, and the

parties complied with Magistrate Bray’s request to submit an agreed protective order.

Dkt. 56. Magistrate Bray edited the submitted agreed protective order to indicate that

he granted Plaintiffs’ motion to compel. Id. at 1.

      Given this acknowledgment from the Court that the CHA Study is relevant to

Plaintiffs’ claims and Houston’s affirmative defense, Plaintiffs again requested

documents relating to the CHA Study. Ex. 5. On August 28, 2024—a little over a




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month before the close of the discovery period—Plaintiffs also served a Fed. R. Civ.

P. 30(b)(6) deposition notice on Houston, describing the matter to be examined as:

             The City of Houston disparity study produced by Colette
             Holt & Associates, Bates numbers CONFIDENTIAL
             COH0001082-COH0001222, including the decision to
             commission the disparity study, the decision to award the
             contract for the disparity study to Colette Holt &
             Associates, the decision to end the disparity study contract
             with Colette Holt & Associates, and the decision not to
             adopt the Colette Holt & Associates disparity study.
Ex. 6 at 2. The deposition notice also requested the witness provide or bring to the

deposition all documents not already produced relating to the CHA Study, including

monthly progress reports. Id.

       On September 16, 2024 (and without sending the notice or topics required by

the federal rules), Houston informed Plaintiffs via email that it would take their

individual and corporate depositions in seven business days, on September 25. Dkt.

61 at 4. Plaintiffs objected to the lack of timely notice. Id. Apparently conceding that

it failed to timely notice the corporate depositions, on September 17, Houston finally

served a deposition notice for the individual deposition of Plaintiffs’ owner Gerald

Thompson. Id. at 5. Plaintiffs objected that this notice forced Mr. Thompson and his

counsel to attend the individual and corporate deposition on separate days, an

unnecessary waste of time and money, and requested the deposition be rescheduled.

Id.




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      Instead, and without conferring with Plaintiffs’ counsel, on Friday, September

20, Houston filed both an emergency motion to compel Mr. Thompson’s deposition

(Dkt. 57) and a Motion for Protective Order and Motion to Quash the deposition of

Houston’s corporate representative (Dkt. 58). Both motions were referred to

Magistrate Judge Bray. Dkt. 59.

      At 8:48am CT on Tuesday, September 24, the parties received notice setting

both the emergency motion to compel and the nonemergency MPO/MQ for a hearing

the next day, September 25, at 4pm CT. Dkt. 60. A few minutes later, the parties

received an email from Magistrate Judge Bray’s case manager informing them that

any responses to either motion must be filed by 8am CT the next day. Ex. 7.

      Plaintiffs filed their opposition to the Emergency Motion to Compel at 2:24pm

on September 24, Dkt. 61, and an opposition to the MPO/MQ about six hours later.

Dkt. 62. That same afternoon, Houston’s counsel contacted Plaintiffs’ counsel to

propose a settlement regarding Houston’s motion to compel. The parties came to an

agreement and Houston withdrew its motion to compel, leaving the MPO/MQ to be

heard at the next morning’s hearing. Ex. 8. Instead, Magistrate Judge Bray

terminated the September 25 hearing and issued an order denying the Motion to

Compel as moot. Dkt. 63. The court took the MPO/MQ under advisement, id., and

on October 7, Magistrate Judge Bray granted Houston’s motions. Dkt. 64.




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                             STANDARD OF REVIEW

      When reviewing a magistrate judge’s decision of non-dispositive pretrial

matters, the district judge in the case “must consider timely objections and modify

or set aside any part of the order that is clearly erroneous or is contrary to law.” Fed.

R. Civ. P. 72(a); see also Moore v. Ford Motor Co., 755 F.3d 802, 806 & n.6 (5th

Cir. 2014). Factual findings are reviewed under the “clearly erroneous” standard and

must be overturned when the reviewing district court is “left with the definite and

firm conviction that a mistake has been committed.” Rivas v. U.S. Bank National

Association, No. H-14-3246, 2015 WL 8215137, at *1 (S.D. Tex. Dec. 8, 2015)

(quoting United States v. Stevens, 487 F.3d 232, 240 (5th Cir. 2007) (superseded by

rule on other grounds, Fed. R. Crim. P. 12)); see also Anderson v. City of Bessemer

City, 470 U.S. 564, 573 (1985). The magistrate judge’s legal conclusions are

reviewed de novo. Rivas, 2015 WL 8215137, at *1.

                                        ARGUMENT

      I.     The Magistrate Judge Improperly Considered the MPO/MQ on an
             Emergency Basis

      Under Local Civil Rule 7.3 and 7.4(A), responses to opposed motions must

be filed by the motion’s submission day, which is 21 days from the date of filing.

Although Houston’s MPO/MQ was filed on the same day as Houston’s Emergency

Motion to Compel, the MPO/MQ was not styled or otherwise designated as an

emergency motion. Dkt. 58. The two motions did not concern the same subject


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matter; the Emergency Motion sought to compel the individual deposition of Mr.

Thompson, while the MPO/MQ involved Plaintiffs’ 30(b)(6) deposition of

Houston’s corporate representative. Dkt. 57; Dkt. 58. Further, Houston’s withdrawal

of its Emergency Motion did not include the withdrawal of the MPO/MQ; Houston’s

counsel indicated the parties’ intent to move forward with the September 25 hearing

on the MPO/MQ. Ex. 8.

      The Local Civil Rules are clear: Plaintiffs should have had 21 days, not less

than 24 hours, to respond to Houston’s MPO/MQ. See Smith v. Ford Motor Co., 626

F.2d 784, 796 (10th Cir. 1980) (“[L]ocal rules of practice, as adopted by the district

court, have the force and effect of law, and are binding upon the parties and the court

which promulgated them until they are changed in [an] appropriate manner.”)

(citation omitted). The Order should be set aside and Houston’s MPO/MQ should be

denied.

      II.    The CHA Study’s Relevance Is Already Established

      The Magistrate’s Order states that while he was “interested in both parties

having access to the contents of the [CHA Study],” it was “never the court’s intention

to allow free-ranging discovery into the origins and demise of the [CHA Study]

without a showing that it bore some relevance to the claims in the case.” Dkt 64 at

1–2. However, the relevance of the CHA Study to Plaintiffs’ claims in this case was

the entire focus of Plaintiffs’ previous motion to compel Houston to produce



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documents in response to Request for Production No. 10 (Dkt. 48)—a motion that

the Magistrate Judge granted. Dkt. 56.

      For example, in their Motion to Compel, Plaintiffs contended that “[t]he 2020

study is important to this dispute because it was commissioned to determine both

whether racial disparities exist in Houston’s public contract awards and whether

ongoing racial discrimination exists (as shown by a disparity between the utilization

of MBEs compared to their availability in the Houston market area).” Dkt. 48 at 8.

Plaintiffs went on to argue that “[e]vidence that speaks to whether racial

discrimination or racial disparities exist in Houston public contracting is central to

this case—without it, Houston has no hope of proving that its race-conscious

Program is necessary to remediate ‘specific, identified instances of past

discrimination that violated the Constitution or a statute.’” Id. (quoting Students for

Fair Admissions, Inc. v. President and Fellows of Harvard Coll., 600 U.S. 181, 207

(2023)). “By that same token,” Plaintiffs continued, “a study showing that no such

disparities or discrimination existed could assist Plaintiffs in proving their equal

protection claim.” Id. at 8–9. Relevance is a key part of the scope of discovery. See

Fed. R. Civ. P. 26(b)(1). Therefore, when the Magistrate Judge granted Plaintiffs’

Motion to Compel, Dkt. 56, he could only have done so because the CHA Study is

relevant to a party’s claim or defense.




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      Yet the Magistrate’s Order requires Plaintiffs to relitigate that already-decided

issue by faulting Plaintiffs’ Opposition for “not discuss[ing] the contents of the study

at all or even suggest[ing] that it supports their claims.” Dkt. 64 at 2. To start,

Plaintiffs had no need to do so because the Magistrate Judge had previously held that

the CHA Study was relevant, Dkt. 56, a fact Plaintiffs noted in their Opposition to

the MPO/MQ. Dkt. 62 at 1 (“In granting Plaintiffs’ motion, this Court recognized

that Plaintiffs may seek additional discovery related to the CHA Study—after all,

this Court has already ruled the study is relevant to Plaintiffs’ claims.”).

      But primarily, Plaintiffs’ Opposition did not address the contents of the CHA

Study because the contents of the CHA Study were not the subject of Houston’s

MPO/MQ. The MPO/MQ sought to prevent a 30(b)(6) deposition on Houston’s

decisionmaking about the CHA Study. Ex. 6; Dkt. 58 at 3 (“The City seeks protection

from the Notice.”). In response, Plaintiffs’ Opposition devotes three pages to arguing

that the 30(b)(6) deposition is relevant to Plaintiffs’ equal protection claim. Dkt. 62

at 2–5. First, because the Court has already held that the CHA Study is relevant to

Plaintiffs’ equal protection claim, so further discovery on that topic is also relevant.

Id. at 2–3. Next, because Houston incorrectly contended that evidence within the

scope of discovery must be admissible, contrary to Fed. R. Civ. P. 26(b)(1). Id. at 3.

And finally, because case law does not support Houston’s contention that further

discovery into the CHA Study is “facially irrelevant” because it involves Houston



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officials or City Council members. Id. at 4–5. The rest of Plaintiffs’ Opposition

addresses Houston’s Mental Process Rule and Deliberative Process Privilege

arguments, which form the bulk of Houston’s MPO/MQ, yet which are not addressed

at all in the Magistrate’s Order. Dkt. 58 at 8–14.

         Instead of addressing the issues before it in Houston’s MPO/MQ, the

Magistrate’s Order judged Plaintiffs’ Opposition on a different standard that has

already been litigated. Plaintiffs fully and completely refuted Houston’s need for a

protective order and to quash the 30(b)(6) deposition, within the extremely truncated

24-hour window given, and the Order to the contrary should be set aside.

         III.   Remedy

         Any part of the Magistrate’s Order that is clearly erroneous or contrary to law

must be modified or set aside. Fed. R. Civ. P. 72(a). Because the Magistrate’s Order

considered a nonemergency motion on an emergency basis and held Plaintiffs to an

incorrect legal standard, the entirety of the Magistrate’s Order should be set aside

and Houston’s MPO/MQ should be denied. Alternatively, should this Court

determine that the contents of the CHA Study are determinative to the outcome of

Houston’s MPO/MQ, the parties should be given the opportunity to submit

supplemental briefing on that issue with the full time allotted by Local Rules 7.3 and

7.4.




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                                CONCLUSION

     For the foregoing reasons, the Magistrate’s Order, Dkt. 64, should be set aside

and Houston’s MPO/MQ should be denied.

     DATED: October 21, 2024.

                                             Respectfully submitted,

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                         CERTIFICATE OF SERVICE

      I hereby certify that on October 21, 2024, I served this document via the

Court’s electronic filing system to Defendants’ counsel of record as follows:

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